UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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United States of America,                                     :

                                   Plaintiff,                 :

        v.                                                    :    14 Cr. 68 (LGS)1

Ross William Ulbricht,                                        :    Ulbricht’s Emergency Motion
                                                                   To Stay Order re: Attorney-Client
                                                              :    Privilege Waiver
                                   Defendant.
                                                               :
-------------------------------------------------------------- x

    Ulbricht respectfully submits this Emergency Motion to Stay Order re: Attorney-

Client Privilege Waiver seeking a temporary stay of the Court’s order entered at

ECF No. 380. Ulbricht seeks an immediate stay of the Court’s order so that he

might submit briefing and a motion urging the Court to reconsider its prior ruling.

    The “essence of the Sixth Amendment right to effective assistance of counsel, is

indeed, privacy of communication with counsel.” United States v. Brugman, 655

F.2d 540, 546 (4th Cir. 1981). The scope of Ulbricht’s implied waiver of the

protections afforded by attorney-client privilege is not unlimited. Instead, the

waiver of privilege is only as extensive as absolutely necessary for former counsel to

prove or disprove the specific allegations raised in Ulbricht’s § 2255 motion.

Ulbricht respectfully submits that the order grants the Government free-range to



1 Ulbricht is filing the present motion in the underlying criminal case

simultaneously with Ulbricht v. United States, cause number 19 Cv. 75212 because
the Court’s order was sought and issued in the criminal case. (See ECF No. 379 &
380).

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obtain otherwise privileged and confidential information without providing

adequate judicial oversight or opportunity for the privilege holder to prospectively

preserve his rights. Allowing an adverse party such as the Government to obtain

access to information still protected by privilege will seriously injure Ulbricht. The

Court should stay its prior order pending reconsideration.

                                   I. Statement of Facts

A.       Parties attempt to confer and resolve issue

     On October 31, 2019, the Government first indicated that they intended to seek

a broad waiver of privilege for any information Ulbricht discussed with former

counsel Joshua Dratel (“Dratel”). The following day, Ulbricht responded to

Government through his counsel. (See Email from Z. Newland to V. Vainberg, Nov.

1, 2019, attached here as Exhibit 1). Ulbricht told the Government that he did not

categorically reject the premise that he had impliedly waived privilege protections

for core information put at issue by allegations raised in the § 2255 motion. (Exh. 1

at 1).

     At the same time, Ulbricht made clear that “the scope of the waiver must be

narrowly construed,” so that it was no broader than needed to ensure the fairness of

the § 2255 proceedings. (Exh. 1 at 1). With that in mind, Ulbricht proposed that 1)

the parties try and reach an agreed protective order limiting the scope of any

waiver; 2) that Dratel be allowed to submit to an agreed sworn deposition subject to

the protective order’s terms; and 3) the Government would be allowed to use

Dratel’s deposition testimony to respond to the § 2255 motion. (Exh. 1 at 1).


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Ulbricht believed both sides would be fairly served by an open and on the record

deposition instead of an informal discussion with no ability for Ulbricht to timely

object.

     The Government declined Ulbricht’s proposal for an agreed deposition of former

counsel citing common practice in the Southern District of New York.2 So, the

Government tried another tactic. At the same time Ulbricht made his resistance to

the informal disclosure of client confidences known, the Government independently

tried to obtain this information from former counsel. (See Gov. Ltr. Mot., ECF No.

379, Nov. 12, 2019 at 1) (“On November 3, 2019, Mr. Dratel notified the

Government that he would require a court order before having any discussions….”).

As a result, the Government filed their November 12th letter motion with the

Court.

B.        Arguments raised in Government’s motion seeking waiver

     The Government filed a letter motion seeking, inter alia, the granting of its

proposed order “to effectuate th[e] expansion of the record.” (Gov. Ltr. Mot. ECF No.

379, Nov. 12, 2019 at 1) (alterations added). This is how the Government described

the specifics of the information it needed:

          The Government respectfully submits that in order to resolve the 2255
          Petition, it is necessary for it to obtain information from prior counsel
          responding to the allegations of ineffective assistance. See Rule 7 of the
          Rules Governing Section 2255 Proceedings for the United States
          District Courts. Such information from prior counsel is necessary
          because the Petitioner makes factual assertions that his former


2 The Government did indicate a willingness to review a proposed protective order,

but Ulbricht believed a protective order was unworkable with the terms of the broad
waiver the Government sought.

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        counsel effectively counseled him against accepting the Government’s
        plea offer and failed to sufficiently explain what the Government
        needed to prove to obtain a conviction. See 2255 Petition at 22-28. The
        Petitioner also asserts that his trial counsel rendered ineffective
        assistance at trial by stating in a jury address that Ulbricht created
        the Silk Road website, and stipulating that illegal drugs were bought
        and sold from Silk Road. Id. at 19-21.

(ECF No. 379 at 1). There was no further explanation or description of the specific

topics or issues the Government believe Ulbricht’s § 2255 motion had placed at

issue in the letter motion. The Government did not attempt to limit or cabin what

they could discuss with Ulbricht’s former attorney or whether any information they

obtained could be used for purposes outside of the § 2255 proceedings. Instead, the

Government simply said carte blanche order was necessary on their proposed terms.

C.      Court’s Order on Attorney-Client Privilege Waiver

     Within 24 hours after the Government submitted their opposed letter motion,

the Court issued its ruling. (Order, ECF No. 380). Ulbricht was not able to respond

at all prior to the Court issuing its ruling. The Court held that 1) “information from

Dratel and his “testimony may be needed,” for the Government to respond to the §

2255 motion; 2) by bringing the § 2255 motion Ulbricht had “waived the attorney-

client privilege as a matter of law”; 3) Dratel “may discuss the issues raised in the

2255 Petition with the Government and, if necessary and appropriate, give sworn

testimony”; 4) requiring Ulbricht to execute and return the attached consent to

waiver or risk denial of the 2255 motion (“Consent Form”). (Order, ECF No. 380).




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    The proposed Consent Form instructs Ulbricht that if he wishes to proceed with

any IAC claims in his § 2255 motion, he “must sign” the waiver. (Id. at 4). The

Consent Form describes its purported legal effect:

        By making this motion, you have waived the attorney-client privilege
        you had with your former attorney to the extent relevant to
        determining your claim. This means that if you wish to press your
        claim of ineffective assistance, you cannot keep the communications
        between yourself and your former attorney a secret—you must allow
        them to be disclosed to the Government and to the Court pursuant to
        court order.
                                            …

        The form constitutes your authorization to your former attorney to
        disclose confidential communications (1) only in response to a court
        order and (2) only to the extent necessary to shed light on the
        allegations of ineffective assistance of counsel that are raised by your
        motion.

(ECF No. 380 at 4). The Court “may deny” Ulbricht’s § 2255 motion if he “does not

authorize,” Dratel to “give an affidavit in response,” to the Court’s order. Ulbricht is

seeking an emergency temporary stay of this same order.

                                             II. Argument

A. Implied waiver of privilege extends only to communications that are
   “necessary” to prove or disprove § 2255 motion claims.

    There is unanimous federal authority holding that when a habeas movant like

Ulbricht claims he received ineffective assistance of counsel (“IAC”) he also risks

impliedly waiving attorney-client privilege for certain matters. United States v.

Pinson, 584 F.3d 972, 978 (10th Cir. 2009) (collecting cases from 5th, 6th, 8th, 9th,

and 11th Circuits). This is based on the theoretical premise that the protections of




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privilege are waived by implication when a client places the attorney-client

relationship directly “at issue.” Pinson, 584 F.3d at 977.

    The Second Circuit has not yet addressed the concept of implied waiver by

placing the attorney-client relationship “at issue” in the habeas context. However,

the Second Circuit has stridently rejected a broad definition of the “at issue”

exception that would destroy the privilege whenever the holder puts protected

information “at issue” by making it relevant. See In re Cty. of Erie, 546 F.3d 222,

228 (2d Cir. 2008); In re Grand Jury Proceedings, 219 F.3d 175, 183 (2d Cir. 2000)

(whether implied waiver exists is “decided…on a case-by-case basis, and depends

primarily on the context in which the privilege is asserted.”). The Second Circuit

has instructed that “rules which result in the waiver of this privilege and thus

possess the potential to weaken attorney-client trust, should be formulated with

caution.” Id.

    The scope of the waiver of privilege in Ulbricht’s case, like any other, is highly

factually dependent and not unlimited. Bittaker v. Woodford, 331 F.3d 715, 716 (9th

Cir. 2003) (en banc). It is the obligation of the court to “impose a waiver no broader

than needed to ensure the fairness of the proceeding.” Id. at 720; Pinson, 584 F.3d

at 978-79. For example, the Tenth Circuit in Pinson negatively viewed a district

court order requiring former counsel to produce a “an affidavit addressing the

issues,” raised in the § 2255 motion without further specificity. 548 F.3d at 978-979.

The Court lamented the lack of specificity and narrow tailoring in the order. Id.




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    The Ninth Circuit’s en banc decision in Bittaker provides further insight into the

scope of the waiver of privilege which applies. Bittaker, 331 F.3d 715 (9th Cir. 2003).

That decision made clear that there is “no federal interest” in a broad waiver of

privilege rule beyond what is necessary to litigate the IAC claim. Id. at 722.

According to the Ninth Circuit, a broad waiver rule would force a Hobbesian choice

of sorts:

        What's more, requiring the petitioner to enter such a broad waiver
        would force him to the painful choice of, on the one hand, asserting his
        ineffective assistance claim and risking a trial where the prosecution
        can use against him every statement he made to his first lawyer and,
        on the other hand, retaining the privilege but giving up his ineffective
        assistance claim. This would violate the spirit, and perhaps the letter,
        of Simmons v. United States, 390 U.S. 377, 394, 19 L. Ed. 2d 1247, 88
        S. Ct. 967 (1968).

         It is no answer to say that Bittaker created this dilemma for himself--
        that he was the one who voluntarily "chose" to challenge his conviction
        on grounds of ineffective assistance. The Constitution guarantees
        Bittaker the right to effective assistance of counsel at trial, Strickland
        v. Washington, 466 U.S. 668, 686, 80 L. Ed. 2d 674, 104 S. Ct. 2052
        (1984), and Congress has provided him an avenue to claim that his
        constitutional rights were violated, 28 U.S.C. § 2254.

Bittaker, 331 F.3d at 723-24 (9th Cir. 2003) (cleaned up).

    In another case, the Eleventh Circuit issued a stay of a district court order to

make certain that any waiver of privilege was narrowly drawn. See Johnson v.

Alabama, 256 F.3d 1156, 1168 n.4 (11th Cir. 2001). In Johnson, the Eleventh

Circuit required the district court to:

        conduct first an in camera hearing in order “to determine whether and
        to what extent appellant's communication presumptively protected by
        the attorney-client privilege is relevant to the specific ineffective
        assistance of counsel claims raised by appellant in his habeas petition.”



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Id. (quotations in original and internal citations omitted). The Court further noted

that the “precise boundaries of the waiver will vary from case to case, and in many

instances,” would require “careful evaluation by the district court,” in the habeas

context. Id. at 1179. The district court ultimately conducted the in camera hearing

where former counsel testified and introduced their notes before ruling on the scope

of Johnson’s implied waiver of privilege. Id.

    This procedure of in camera inspection prior to waiver determination is

instructive in Ulbricht’s case. The Supreme Court instructs that in camera review of

potentially privileged communications and documents is a “relatively costless and

eminently worthwhile method,” to protect the disclosure of material that is

potentially privileged. Kerr v. United States Dist. Court, 426 U.S. 394, 405 (1976).

Evaluating the precise contours of a claim of privilege is always a proper judicial

function. In re Search Warrant Issued June 13, 2019, 2019 U.S. App. LEXIS

32600 *, __ F.3d __, 2019 WL 5607697 (4th Cir. Md. October 31, 2019) (court “not

entitled to delegate its judicial power and related functions,” to prosecutors,

“especially where executive branch is an interested party in the pending dispute”);

see In re The City of New York, 607 F.3d 923, 947 (2d Cir. 2010) (observing that

evaluating privilege claim is always a judicial function).

    (1) Privilege waiver is too broad and delegates judicial function

    The Court’s privilege ruling is not adequately narrowly tailored. (ECF No. 380)

The privilege ruling does not describe in any detail “whether and to what extent”

the privileged information is necessary to respond to the § 2255 motion. See



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Johnson, 256 F.3d 1156. The order does “little to indicate precisely what

information,” Dratel may disclose “other than to refer generally to claims,” of IAC.

Pinson, 584 F.3d at 978.

    In fact, the current order implies that Ulbricht has universally waived any right

to privilege simply by filing the § 2255 motion. (ECF No. 380 at 1) (“by making the

motion, the movant has waived the attorney-client privilege as a matter of law”). In

this respect, the order runs directly contrary to the overwhelming weight of

precedent. See In re Lott, 424 F.3d 446, 453 (6th Cir. 2005) (“Implied waivers are

consistently construed narrowly.”). In the habeas context, the Sixth Circuit

remarked that “[t]he standard for implied waiver is not lower in habeas cases than

it is in any other type of case.” Id. at 454. The order finding Ulbricht has universally

waived his right to attorney-client privilege without any analysis of whether any

specific disclosure is necessary to litigate the § 2255 is facially overbroad.

    The privilege order authorizing the Government to “discuss the issues raised” in

Ulbricht’s § 2255 with Dratel without specific judicial assessment of applicable

privilege is improper. Evaluating a privilege claim is a judicial function. In re City of

New York, 607 F.3d at 947. Further, district courts “have the obligation to ‘strictly

police’ the limits of habeas petitioners’ narrow waivers of the attorney-client, work

product and Fifth Amendment privileges during habeas proceedings.” Lambright v.

Ryan, 698 F.3d 808, 823-824 (9th Cir. 2012).

    Permitting the disclosure of materials “arguably subject” to privilege protection

without first independently assessing if the privilege should still apply is reversible



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error. Id. (release “without the information necessary to determine

appropriateness,” was abuse of discretion). Instead, ordering the disclosure of

otherwise privilege information directly from Dratel to the Government outside of

any formal discovery (such as a deposition) delegates the Court’s proper judicial

function. The privilege ruling impermissibly grants the Government the right to

determine which topics may be discussed with Dratel and what subjects, if any, are

off limits because they are still protected. Placing the power to make all

assessments on the existence of privilege once Ulbricht filed a § 2255 motion

improperly delegates a judicial function. Only the Court is vested by the

Constitution with the judicial power which includes “the duty of interpreting and

applying,” the law. See Massachusetts v. Mellon 262 U.S. 447, 448 (1923).

    In this case, the privilege order was not based on sufficient information to rule

Ulbricht has waived any privilege to “the communications” between himself and

Dratel. (ECF 380, Consent Form). The court should reconsider its prior order and at

a minimum require in camera submissions to determine the extent of any privileged

information which must now in fairness be disclosed to the Government. Such in

camera procedures with Ulbricht’s participation are the unquestioned standard in

all other contexts evaluating privilege claims. There is no reason to apply a lower

standard in habeas cases by order blanket disclosure of otherwise privileged

material without engaging in a topic-by-topic factual analysis of the claims. In re

Grand Jury Proceedings, 219 F.3d at 183.




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B. Implementing limited waiver: protective order and deposition

    Ulbricht’s privilege waiver should extend “only to litigation of the federal habeas

petition,” and the attorney-client privilege is not waived “for all time and all

purposes—including the possible retrial of petitioner…” Bittaker, 331 F.3d at 716.

Unlike an ordinary civil case, the parties to Ulbricht’s § 2255 proceedings have no

general right to discovery. See Rules Governing Section 2255 Cases in the United

States District Courts (“Habeas Rules”), Rule 6(a); Bracy v. Gramley, 520 U.S. 899,

904 (1997).

    The Government bears the obligation of showing that “good cause” exists to

conduct discovery under the Federal Rules of Criminal Procedure or Civil

Procedure. Habeas Rule 6(a). Ordinarily, allowing discovery before the Government

has even answered the § 2255 motion is “not common.” United States v. Maya-Cruz,

No. CR S-10-185 KJM, 2012 U.S. Dist. LEXIS 157855, at *4 (E.D. Cal. Nov. 1, 2012)

(citing for the same proposition United States v. Prado, No. CR S-02-21 JAM KJM

P, 2009 U.S. Dist. LEXIS 112868, 2009 WL 4018147, at *1 (E.D. Cal. Nov. 18,

2009)). The Government has not even attempted to show that any of the “many

ways” to address IAC claims that do not involved questioning prior counsel have

been considered. (See ECF No. 379). Further, the Government has not responded to

Ulbricht’s § 2255 motion either. The Government has not shown “good cause” for its

requested discovery at this juncture.

    To the extent that the Court determines discovery is warranted by the

Government showing good cause to obtain otherwise privileged material, that



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discovery should be made subject to a protective order. See Bittaker, 331 F.3d at 728

(order must clearly delineate contours of limited waiver before allowing discovery);

Lambright v. Ryan, 698 F.3d 808, 819 n.4 (9th Cir. 2012) (protective order required

whenever discovery is authorized on IAC claim). An appropriate protective order

would 1) limit the Government’s use of any privileged discovery to rebuttal of

Ulbricht’s claims, 2) prohibit the Government from using the information or

documents against Ulbricht in any manner during future proceedings; 3) prohibit

the Government from disseminating the information or its general contents to any

other U.S. Attorney’s Office or in any other context outside the § 2255 proceedings.

Bittaker, 331 F.3d at 724 n.8. The court should stay its prior ruling so that a

protective order can be put in place. Otherwise, Ulbricht faces the irreparable harm

of former counsel disclosing client confidences without any limitation on how the

Government can utilize them in the future.

    Further, Ulbricht submits that even if a protective order is granted the Court

should not order any manner of informal discussions as authorized under the

Habeas Rules. Instead, the Government’s discovery into potentially privileged areas

should be obtained in fairness through a formal deposition subject to the Federal

Rules of Civil Procedure. See United States v. Nicholson, 611 F.3d 191, 203 (4th Cir.

2010) (former lawyer testified in deposition before case went to evidentiary

hearing); United States v. Stone, 824 F. Supp. 2d 176, 188 (D. Me. 2011) (Discovery

order requiring formal deposition on § 2255 claim appropriately protected

Government interests and attorney-client privilege); United States v. Soomai, 928



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F. Supp. 2d 170 *, 2013 U.S. Dist. LEXIS 31295, 2013 WL 837602 (D.D.C. March 7,

2013) (granting protective order which required prohibited Government from

speaking with prior counsel without post-conviction counsel present). Permitting

any ex parte informal discussions between Dratel and the Government would

deprive Ulbricht of his right to object and assert privilege on a question-by-question

prospectively.

    Multiple courts have recognized the inherent danger posed by informal laissez

faire communications between formal counsel and the Government in habeas cases.

See Stone, 824 F. Supp. 2d at 188; Soomai, 928 F. Supp. 2d 170 *, 2013 U.S. Dist.

LEXIS 31295, 2013 WL 837602; Hudson v. United States, No. 3:10-cv-00981, 2011

U.S. Dist. LEXIS 93792, at *10 (S.D. W. Va. Aug. 22, 2011) (requiring discovery by

counsel’s affidavit on specific topics listed as opposed to informal interview).Ulbricht

should receive the same protections for attorney-client privilege that an ordinary

civil litigant would possess under ordinary discovery procedures. A protective order

is necessary in this case and the Court should require any discovery to comply with

the Federal Rules of Civil Procedure.

                                        III. Conclusion

    The prior ruling concerning attorney-client privilege should be stayed as it is

overly broad and does not adequately protect the interests served by the privilege.

Even if discovery is allowed at this point a protective order is necessary.




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                                        Respectfully submitted,


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                                        Counsel for Ross William Ulbricht


                            CERTIFICATE OF CONFERENCE

    I, Zachary L. Newland, hereby certify and affirm that prior to the filing of this

motion I conferred opposing counsel for the United States to obtain their position on

this motion. Opposing counsel stated that 1) they are opposed to the Court granting

any stay, and 2) they are opposed to the Court granting a reconsideration of its

prior ruling.

                                        /s/ Zachary L. Newland
                                        Zachary Lee Newland


                                CERTIFICATE OF SERVICE

    I hereby certify that a true and correct copy of the foregoing was served this 19th

day of November 2019, via CM/ECF on all counsel of record.


                                        /s/ Zachary L. Newland
                                        Zachary L. Newland


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